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              IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA

                        GREAT FALLS DIVISION

                              )
UNITED STATES OF AMERICA,     ) Case No. CR 16-19-GF-BMM
                              )
         Plaintiff,
                              )
                                            ORDER
    v.                        )
                              )
                              )
ENCORE SERVICES, LLC, ZACHARY )
BROOKE ROBERTS, MARTIN GASPER )
MAZZARA, and RICHARD LEE      )
BROOME                        )
         Defendants.          )



     The above-named Defendants filed a Motion for an Order to Show Cause as

to Why the Chippewa Cree Tribe (CCT) Should Not be Held in Contempt of Court
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for Failing to Comply with the Court Ordered Subpoena Duces Tecum on February

28, 2017. (Doc. 156.)


      The district court issued the original Subpoena Duces Tecum on November

22, 2016. (Doc. 98.) CCT filed a Motion to Quash Subpoena Duces Tecum on

January 16, 2017. (Doc. 118.) The Court conducted hearings on CCT’s Motion to

Quash Subpoena Duces Tecum on January 18, 2017, and January 25, 2017. (Docs.

131, 135.) After the hearings, the Court ordered Defendants to submit a proposed

modified subpoena. (Doc. 136.) Defendants submitted a proposed modified

subpoena, and CCT was then given an opportunity to respond to Defendants’

proposal. The Court conducted a hearing on the proposed modified subpoena on

February 15, 2017. (Doc. 149.) The Court granted CCT’s motion in part and

denied it in part on February 21, 2017, and ordered Defendants to comply with the

modified subpoena. (Doc. 150.) CCT responded to the subpoena by stating that it

conducted reasonable searches and did not discover any documents requested in

the Subpoena Duces Tecum that it had not already produced to Defendants in a

previous civil action. (Doc. 157 at 6.) Defendants then filed the instant motion.


      The Court held a hearing on the Motion for an Order to Show Cause on

March 29, 2017 (Doc. 206). Following the hearing, the Court ordered Defendants

to submit a proposed Order by March 30, 2017. (Doc. 206). Defendants submitted
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a proposed Order on March 31, 2017. (Doc. 207.) Having considered the parties’

written and oral arguments, the Court issues the following order:


      CCT must file an affidavit no later than seven days after the date of the
      Court’s order identifying (1) each person involved in the search for records
      CCT produced in the prior civil action, (2) what each person searched for,
      (3) where each person searched, and (4) how much time each person spent
      searching for the records.


      DATED this 3rd day of April 2017.
